Case 3:22-cv-01416-N Document 197 Filed 06/06/24 Pagei1lof1 PagelD 7668

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

ATC MEDIA, LLC, §
§
Plaintiff, §
§

v. § Civil No. 3:22-CV-1416-N
§
MICHAELS STORES, INC., et al., §
§
Defendants. §

VERDICT OF THE JURY

We, the jury, have answered the above questions as indicated, and now return
those questions and answers to the Court as our verdict.

SIGNED this O@ _ day of June, 2024.

Olmos RarchuttJ

PRESIDING JUROR

COURT’S CHARGE — PAGE 27

